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POLICY AND. ADMINISTRATIVE PROCEDURES

| Indiana Department of Correction

 

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OFFENDER GRIEVANCE PROCESS

 

Hf.

The Department shall ensure that this administrative process provides:

A. A fair and prompt decision and action in response to an individual
offender’s complaints;

B. — Anavailable channel for hearing and resolving concerns of offenders;

Cc. A management tool for administrators to keep informed of developing _
trends and specific problems so that they may be addressed in a timely
manner; —

Dz A means to lessen conflict between offenders and staff and offenders and
, ‘other offenders; and, |

ER. Administrative remedies to complaints in order to prevent litigation. -

Staff shall take no reprisal for an offender exercising in good faith the right to use

‘the grievance process. However, offenders who have been found abusing the
gtievance process may be restricted as to the number of grievances that they may
have in the process at any one time,

DEFINITIONS:

For the purpose of these administrative procedures, the following definitions are
presented: .

A Abuse: The use of the Offender Grievance Process in a manner other than
in good faith, such as the filing of frivolous, repetitive or retaliatory
grievances.

B. Appeal: The submission through the Executive Assistant of a grievance
following ithe receipt of a response at one level to a higher level of review.

C.  Departmeht Offender Grievance Manager: The staff person in the
_ Deépartment’s Central Office designated by the Commissioner as being
responsible for receiving and ensuring that offender grievance appeals are
investigated and a response is returned to the offender and for the
oversight of the Offender Grievance Process .

D, Emergency Grievance: A gtievance filed by an offender based upon a
situation or condition which presents a potential and substantial risk to the
life or safety of the offender or when irreparable harm to the offender’s

health is imminent.

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resolved or the offender is not directed to another staff person who may assist in

_the resolution of the concern.

The offender is to attempt to contact the staff member as soon as possible after the
incident; but in nd case should the time period be more than five (5) working days
from the date of the incident, unless the offender can provide a reasonable

_ explanation for a delay. Normally, the offender should discuss the incident with

this staff person and provide the staff person with all available information to
assist in the resohation of the complaint. If the designated staff person is directly
involved in the intident, the offender may contact the staff person’s supervisor
not directly involyed in the incident to attempt to resolve it.

' When discussing the grievance with staff, the offender is to be courteous and
- present the grievance in as much detail as possible. The staff person receiving the

grievance shall détermine whether he/she can address the problem: If not, the:
staff person shall] within 24 hours, contact staff who may be able to resolve the

- grievance. |

The staff person liscussing the grievance with the offender shall attempt to
resolve the grievance as soon as possible. If the grievance cannot be resolved by
the staff person within ten (10) working days, the staff person shall so advise the

offender and the offender shall be permitted to initiate a formal written grievance,

Failure of the offender and staff to properly attempt to resolve the offender’s
"_ grievance may regult in a formal written grievance being returned to the offender

. the staff person

and the offender ot being permitted to proceed, with the grievance process. If
ntacted by the offender does not attempt to resolve the
grievance to the best of his/her ability and in good faith, the offender shall be
permitted to proceed in the formal grievance process. Staff shall do nothing to
impede the offender’s ability to resolve the grievance informally or to take the

grievance to the formal process.

  

" Submitting the Grievance by the Offender:

offender shall be permitted to file a formal written grievance. The
Executive| Assistant shall ensure that the offender population has ready
access to the forms necessary for the grievance process through the Unit
Team. An offender wishing to file a formal written grievance shall file
‘such grievance within 20 working days from the date of the incident
tapering grievance. The Facility Head may waive the time frame if
thete is a valid reason for doing so.

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‘Tf the ora has been unable to resolve his/her grievance informally, the

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OFFENDER GRIEVAN CE PROCESS

- request a

 

A supply of State Form 45471, OFFENDER GRIEVANCE, is to be
maintained in each housing unit and in other locations, such as the Law
Library. If the offender cannot obtain this form in the offender’s housing
unit, the offender shall contact his/her counselor or the Executive
Assistant. | The offender shall be provided with the State Form 45471
within on¢ (1) working day from the date the form is requested. An
offender a not be required to use a “Request for Interview” in order to
ievance form.

One offender may not submit a complaint on behalf of another offender
nor are "class action" complaints acceptable. However, staff or another
offender nay assist an offender who cannot write a grievance him/herself
by writing the. grievance/appeal for the offender. The grievance. shall
explain how the situation or incident affects the offender personally. The

- The Sn must be submitted by the offender on his/her own behalf.

- offerider must explain what actions he/she has taken to try to resolve the

grievance informally including the date he/she informally contacted staff
about the grievance, the name and title of the staff person with whom
he/she discussed the grievance and the response from the staff person.

_ The facility shall ensure that a mechanism is in place in each housing unit

or Unit Team to ensure that offenders who are illiterate, who do not speak
of write Ehglish fluently or who have medical or psychological disabilities

with this policy and administrative procedures, This assistance may be
from other offenders who are assigned.to assist in the preparation of
grievances or staff if other offenders cannot assist.

with this oie in preparing and submitting a grievance in accordance

In order for the gtievance to be considered, it must include the following
information: .

1. Name(s) of staff involved, if-a staff person is involved;

i

2. “Date and time of the incident;

3. - .Location where incident occurred;
What happened or was said;
Ndmnes of witnesses; and,

Names of staff contacted. by the offender and the response they
provided to the offender at the informal step.

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_ write, or
- disability). In such cases, a staff member is to indicate why the offender

OFFENDER GRIEVANCE PROCESS

  

Even if a staff person or another offender assists the offender in
completing the grievance, the offender submitting the grievance must

_ personally-sign and date the State Form 45471. The offender’s signature

may be waived when the offender has transferred, does not know-how to
is physically unable to write either by restraint or infirmity

did not sign the form.

Grievances are to be written in plain and simple English and should state
the issue ip a simple and easy to understand manner. Offenders shall
refrain from the use of legal terminology. Grievances containing
excessive legal terminology may be returned and the offender instructed to
file a plain English revision, However, a grievance shall not be returned
solely on-the grounds that the offender has quoted a Department
policy/procedure or has cited.a specific statute or court case or threatened

to filea law suit.

Grievances containing profane language, except when used as a direct
quote, may also be returned for rewriting, and may generate disciplinary
action. It is the responsibility of the offender to ensure that the grievance
is kept simple, clear, concise atid to-the-point. If a grievance does not meet
these criteria, the offender shall be instructed to rewrite it as a simiple,
straight forward statement.of his/her.concerns, ‘The entire grievance.
should be contained within the space allowed on State Form 45471.
Multi-page statements generally shall not be accepted. At the discretion of
the Executive Assistant, the offender may be requested to supply more .
detailed information after the submission of the grievance.

 

Grievances based on hearsay (third party information) are not acceptable.
A grievance is to fully describe an issue that directly affects the offender
or of which the offender has direct knowledge. Should a grievance not

" - meet these criteria, it shall be returned to the offender with a written

notation explaining why the grievance is returned and what may be done
to correct fae grievance. --

Grievances citing multiple unrelated incidents/issues are not acceptable.

Grievances are to be limited to one (1) incident/issue and should contain

sufficient information to allow an investigation. When a grievance is

submitted which does not meet this requirement, the-offender is to be

notified that it is not acceptable as written and must be rewritten to

accommodate the format, Where a problem has several aspects, the
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Executive’ Assistant should instruct the offender to state grievances in a
general way that encompasses all pertinent information.

— the Grievance ~ Executive Assistant

All formal grievances submitted by offenders are to be forwarded to the

Executive| Assistant as soon as possible, Upon receipt of the grievance,
the Executive Assistant or designee is to log the grievance and assign a
case number. All grievances received by the Executive Assistant shall be
logged and assigned a case number, even if the grievance is later returned
to the offender. Grievances shall be assigned a case number and logged
within two (2) working days of submission by the offender. Additionally,
the Executive Assistant shall generate a receipt for.the grievance and shall

 

the grievance is logged.

Following the logging and assigning of a case number, the Executive

Assistant shall review the grievance to ensure that it contains all of the
required information and is in compliance with these administrative
procedures. Ifthe Executive Assistant determines that the grievance does

not meet the requirements of these administrative procedures, the
Executive! Assistant shall return the grievance to the offender with an |

explanation as to why the grievance was returned and how the grievance

may be corrected. State Form 45475, RETURN OF GRIEVANCE, shall - .
be used for this purpose. It will be the responsibility of the offender to

make the necessary revisions to the grievance and to return the revised

grievance to the Executive Assistant within five (5) working days from the

‘date that it is returned to the offender. (NOTE: If the grievance is returned

to the offender because the offender has not attempted to resolve the
grievance linformally, the offender shall be given five (5) working days
from the date the State Form 45475 is completed to initiate the informal
process. All time frames will then apply to the grievance.)

 

The Executive Assistant is not authorized to combine or rewrite similar
gtievances from an offender into one.grievance. The grievances are to be
returned to the offender with instructions to rewrite the grievances into.
one grievdnce. The Executive Assistant shall make no changes or
corrections to the grievance. If the Executive Assistant does not believe
that adequate information is provided in the grievance, the Executive
Assistant may contact the offender either through correspondence or
personally to request the needed information. Grievances that are not
legible shall be returned to the offender for rewriting.

 

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OFFENDER GRIEVANCE PROCESS

and meets|the requirements of these administrative procedures, it shall be
determined whether the grievance is a grievance dealing with routine
facility operations or whether it falls into one of the following categories:

When the ere Assistant determines that the grievance is complete

 
 

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ial of request to correspond with another confined person

If the grievance concerns a medical issue, the Executive Assistant shall
forward it|to the Facility Health Care Administrator for investigation. If

_ the grievance concerns the denial of visitation with minors due to a séx

crime involving a minor, the Executive Assistant shall contact the local
Sex Offender Monitoring and Management (SOMM) coordinator to
determine| whether a SOMM Facility Review needs to be conducted, If
the grievahce concems the imposition of non-contact visits or a request to

 

‘correspond with another confined person, the grievance shall be discussed

with the Facility Head and an investigation conducted as instructed by the
Facility Head. All other grievances shall be investigated by the Executive
Assistant br staff designated by the Facility Head.

The Exeahiv Assistant ot designee shall have 15 working days from the
date that the grievance is received to complete the investigation of the
grievance jand provide a response to the offender. The Executive Assistant
or “designated staff shall, as needed:

1. Interview staff or offenders or request written statements from
relevant staff or offenders;

 

2. Review local procedures;

3. ache relevant department policies/procedures or other

 

guidelines;
4, Review as necessary inventories, daily logs, medical records, etc;
5. Interview witnesses as appropriate; -
6. ew resource staff (doctors, supervisors, chaplain, etc.) for
additional information as necessary: and.

 

 

7. Take any other responsible action as directed by the Facility Head.
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Upon conipletion of the investigation, the Executive Assistant shall write a
response tb the grievance using the response form in the OGRE II system
and-print 4 copyjof the response, The Executive Assistant shall ensure that
the response is logged in the OGRE II system and that the grievance
response is appropriate and approved by the Facility Head. The response
shall include the following information, if applicable:

 

*® Name ofthe designated staff person who investigated the grievance, if

other an the

Executive Assistant;

¢ Names of witnesses interviewed and/or resource staff consulted
(sources of confidential information shall not be disclosed);

i

‘«  Policy‘or other guidelines as necessary;

 

° “re found or note inability to find evidence;

-@ Concl bsion/decision reached by the Executive Assistant or other

designated s

if person and the reason(s) for this conclusion/decision;

o— Corregtive a¢tion that has been/shall be.taken to resolve the issue and a
completion ate for that action, when known, and actions taken to
ensure that all appropriate staff are notified when corrective action i is

to be taken;

* Respo se th

nd,

addresses the issue grieved. -

The Executive Assistant shall ‘sign and date the response and ensures that
copies of elevant documents are attached to the facility file copy of the

required i form tion, the Executive Assistant shall sign the grievance

packet.

itto the offender and place a copy in the offender’s facility
i¢vance response shall be returned to the offender within 15

working days from the date of receipt, unless the Facility Head has

 

sion in accordance with these administrative procedures.

C, Appeals te Grievance Responses:

Upon receipt of the grievance response from the Executive Assistant, the

offender shall be

|

 

responsible for reviewing the response and determining
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‘computer and s

whether tHe veshonse adequately addresses the issues in the grievance, —
The offender stall be permitted to appeal the grievance to the

_ Department’s Department Offender Grievance Manager if the offender

disagrees with the response.

Appeals must address the basic issue(s) of the initial grievance. The

appeal may contain additional facts or information regarding the original

issue and inay raise concerns regarding the response from the previous

~ level. Appeals shall not raise new and/or unrelated issues. ‘The offender
_ thust state] why the previous response was unacceptable, thereby
establishing a rationale for.the appeal and the basis for a reinvestigation.

The appeal must be legible, signed and dated by the offender, unless the
offender cannot sign the appeal and a staff member has indicated why the
offender was nat able to sign.

_ An appeal; must] be filed within ten (10) working days from the date of

receipt of the grievance response. This time frame may be waived by the
Department Offender Grievance Manager if it is determined that there are
valid reasons to/do so. The original grievance, the grievance response and
any other information submitted with the original grievance must be
included with tHe appeal

 

 

 
 

The appeal must be filed with the Executive Assistant who shail indicate

_ the date received and shall generate a receipt for the appeal. The receipt

shall be gilven ta the offender within one (1) working day from the date the
appeal is logged. ‘The Executive Assistant shall log the appeal-and
deterinine} whether all. pertinent information is included. If the appeal is
complete, jthe Executive Assistant or designee shall scan all of the
pertinent information relating to the grievance and appeal into his/her

d all of the information to the Department Offender
Grievance Manager via e-mail. Once the appeal and.-related materials
have been| reoei fed by the Department Offender Grievance Manager, the
Executive) Assistant shall be sent.a confirmation via e-mail indicating that
the appeal has been received by the Department Offender Grievance
Manager. | The Executive Assistant is to complete these actions within five
(5) working days of receipt,

 

The Department Offender Grievance Manager shall review-all of the

informatiqn rec¢ived with the appeal. The actions taken by the

Department Offender Grievance Manager include:

t es . .

e Concurring with the initial grievance response and denying the appeal;
* Granting the appeal, in whole or in part;
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* Contacting the facility for additional information as deterrnined
necessary; ot,

¢ Returrling the grievance to the facility if it appears that the initial -
grievance response investigation did not address the issues raised in

_ the grievance.
et

 
 

If the Department Offender Grievance Manager believes that additional
information is needed in order to respond, he/she may contact the
Executive/ Assistant and request additional information. If it appears that
the initial investigation by staff at the facility.did not address the issues
raised in the initial grievance, the Department Offender Grievance:
Manager may or(er through the Executive Assistant that the grievance be

re-investigated.

  
  

When co one the response to an offender’s grievance appeal, the _
Department Offender Grievance Manager shall include the following
elements: oe

Ne names of witnesses interviewed and/or resource staff.
consulted (sources of confidential information need not be
disclosed), if additional witnesses are contacted;

2. Atly polities, administrative or operational procedures, operation
di lective, statutes and other guidelines that have been relied upon
to formulate a response, as necessary;

 

3. Atiy evidence that is found or the inability to find evidence to
support the grievance or grievance response;

4. The secikion reached by the Department Offender Grievance
Manager/and the reasons that such decision was reached;

5. Any corrective action that has been or shall be taken to resolve the
issue, including a projected completion date for the action, if
available,

6. The respprise must address the original issue grieved;

7 The response is to be signed and dated d by t the Department Offender
Grievance Manager; and,

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8. tt a of relevant and newly discovered documents that are

 

 

 

 

 

__ Sent to the Executive Assistant to be maintained with the grievance
files

 

The Depaytment Offender Grievance Manager shall complete his/her
investigation atd submit a response to the appeal within 20 working days
from the date of receipt, unless the Department Offender Grievance
Manager notifies the offender and the facility housing the offender in
writing that the| appeal will take additional time to complete. The appeal
response shall be.prepared using the response form as found in the OGRE
II system.| The|decision of the Department Offender Grievance Manager
shall be final and shall end the offender’s administrative remedies for the

_issues in this grievance. Once the response is completed, the appeal

_tesponse shall be returned to the Executive Assistant via e-mail. It shall
be the responsiility of the Executive Assistant to review the appeal
response, log the response, print a copy of the response and ensure that the
offender receives the response within two (2) working days from the date
that the Bjecut ve Assistant receives the response from the Department
Offender Grievance Manager.

 

XY. FRAMES:

Offenders are to initiate the informal portion of the Offender Grievance Process
within five (5) working days following the incident or action that is the basis of:
the grievance occtrs. Unless so ordered by a court of competent jurisdiction, the
Commissioner, the Deputy Commissioner/Operations, the Department’s Medical
Director or their designees, no informal grievance shall .be accepted after the five
. (5) working days tnless the offender can show just cause for accepting the
grievance or a written grievance was returned to the offender due to failing to use
the informal process, ievances received after five (5) working days from the
date of the incident shall be discussed with the offender and the offender advised
that the grievance is i timely. Unless the offender presents information that can
explain why the grievance should be considered past the time limit, no further
action shall be taken on the grievance and the offender shall not submit a formal
written grievance:

 

  

 

 
  

   
 
   
  

Responses shall be made within fixed time limits at each level of decision. From
the initial griev: to the final appeal response, grievances are to be processed

_ within 90 working days, unless the Facility Head, or designee, or the Department
Offender Grievance Manager advises of an extension in the time frame in writing
to all parties involved. [Extensions of the time frames will be for a specific period
of time. Failure af staff to respond in accordance with-the established time limit

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or extension at anly stage of the process shall entitle the offender to move to the
next stage of the process,

 

If the Facility Head or designee declines to grant an extension and the time frame
has expired at the|current level, the Executive Assistant shall notify the offender
who may appeal to the next level of review. The Executive Assistant or
designated staff shall ensure that the offender has access to any forms necessary
to proceed wah tte grievance process and shall ensure that the offender receives
any necessary fo (s) within one (1) working day from the date-of request,

Offenders.are responsible for ensuring that a formal grievance or grievance appeal ©
ds submitted within the time frames noted. Failure of the offender to submit the

grievance or appeal within the noted timeframes may cause the formal grievance

or grievance appeal not to be considered. The Facility Head or Department
¢ Manager may consider a grievance or grievance appeal
submitted outside the ngted timeframes if it appears that there was an appropriate

 

Head/declares a facility emergency in accordance with Policy
02-03-102, "Emergency Response Operations," all time limits shall be suspended.
During facility lopkdowps that last for an extended period of time, the Facility —

' Head may elect tq allow offenders to submit grievances; in: such cases, the time
limits shall apply unless the Facility Head designates in writing an extension for a
fixed period. Grievances that concern life threatening situations shall not be
subject to a suspension of the time frames.

 

At each step of the formal grievance process an extension of time may be granted
to either staff or the offender. A request shall be submitted to the Facility Head or
Department Offender Gtievance Manager requesting that an extension of time be
granted with an cat as to why the extension of time is necessary. Upon
review of the request, the Facility Head or Department Offender Grievance
Manager may either approve or deny the request. If the request is approved, an
extension of up td ten (10) working days may be granted at each level of the
grievance process in acdotdance with these administrative procedures. The
extension shall be signed and dated by the Facility Head. or designee for
grievances or the Department Offender Grievance Manager for appeals, The
written extension of thejtime frame shall specify a reason for the extension and
the specific length of the extension. The Executive Assistant shall record any
time frame extensions. The 90 working days time frame for processing a
grievance shall bé extended by the same number of days as granted in the
extension, if necessary. | ,

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The following tinge frames Shall be observed in the processing of a grievance, and
appeal;

 
 

A. The offender shall contact staff to discuss a grievance as soon as possible
after the incident, but no later than five (5) working days from the date of
the incident.

_=&B. The staff person initially contacted by the offender shall determine
whether he/she|can assist the offender in resolving the grievance and, if
not, shall ¢ontact.a staff person who may be able:to assist the offender _

~ within 24 hour. from the offender’s initial contact.

 

 
  
 

C. The staff herso’ contacted shall respoxid to the offender’s grievance within
ten (10) working days from the date of the offender’s contact.

 

D. If the grievance cannot be resolved informally by the offender and staff,
the offender may:submit a formal written grievance using State Form
45471. Ifithe offender does not have immediate access to State Form

45471, staff must ensure that the offender is provided with this form

 

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given to tt

grievance lwi

(1) working day from the date the form is requested.

 
 

written grievance must be filed within 20 working days from
the incident or triggering event. The formal grievance must be

le Executive Assistant. Failure of the offender to file the

in this time frame due to failure to obtain State Form 45471

shall not be grounds for rejecting the grievance.

The Executive

  

sistant shall log and review the offender’s formal

grievance |within two (2) working days, If the grievance is accepted, the
Executive Assi tant shall provide the offender with a receipt for the.

grievance |wi

logged. If

  

one (1) working day from the date the grievance is
it is. determined that the grievance does hot meet the criteria or

additional|information is needed, it shall be returned to the offender. The
offender must return the grievance to the Executive Assistant within five
(5) working days from the date that it is returned to the offender for

revision,

The Executive Assistant shall investigate the grievance and respond to the
offender within! 15 working days from the date the grievance is received.

If the grievan
information, th

is returned

 

 

as been returned to the offender for revision or additional
15 working days shall begin on the date that the grievance
to the Executive Assistant.

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Title yp
OFFENDER GRIEVANCE PROCESS

 

 

 

 

 
 
  

 

H. If the offender does not agree with response from the Executive Assistant,
the offender may file an appeal to the Department Offender Grievance
Manager within ten (10) working days from the date the offender receives
the response from the Executive Assistant.

L If the offender does not have immediate access to the forms necessary to

appeal the grievance response, the Executive Assistant shall ensure that
the offender rec¢ives the necessary form(s) within one (1) working day
from the date a Upon receipt of the appeal, the Executive
Assistant shall have five (5) working days to review, log, scan and e-mail .

Department Offender Grievance Manager. The

fant shall provide the offender with a receipt for the appeal

orking day from the date the appeal is logged.

 

i the appeal, the Department Offender Grievance Manager
shall se c-tpail to the Executive Assistant advising that the appeal has
been received. The Executive Assistant shall log the receipt of the appeal
into the grievance log.
.K. The Depattment|Offender Grievance Manager shall investigate the appeal,

render a decision dnd return a response to the Executive Assistant for
delivery to the offender within 20 working days from the date that the —
grievance jis reedived by the Department Offender Grievance Manager.

 

 
  

L, Upon receipt of tk e appeal response from the Department Offender:

Grievance Manager, the Executive Assistant shall log and review the
response and provide the offender with a copy within two (2) working
days. So

XVI. TRANSFER OR RELEASE FROM SUPERVISION:

 

An offender may pursue or originate a formal written. grievance at a facility from
which he/she has been transferred or released from supervision only under the
following conditions:

A. ~ Ifan informal or formal grievance was initiated prior to the transfer or
_ Telease,the offender may exhaust the administrative remedies available
through the grievance process at the former facility.

 

  
  

 

B. A. new. complaint against a former facility regarding transfer of property or
funds may be inifiated within 20 working days from the date of transfer or
release. In suchjcases, the informal step of the Offender Grievance
Process shall be Waived. .

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